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                     WRITTEN RECORD OF PLEA AGREEMENT
                           U.S. MAGISTRATE JUDGE
                                                                                                 JAN O4 2022
                            FLAGSTAFF, ARIZONA                                            Cl.ERK U S DISTRICT COURT
                                                                                             DISTRICT OF ARIZONA
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UNITED STATES OF AMERICA v. JERRID WILLIAM MALOY

VIOLATION(S) PLEADING GUILTY TO:
Count 1 of the Information, Theft from the United States, in violation of 18 U.S.C.
§ 641, a Class A Misdemeanor.

MAXIMUM FINE (18 U.S.C. § 3571): $100,000.00
MAXIMUM IMPRISONMENT (18 U.S.C. § 3581): One year
MAX. PROBATION/SUPERVISED RELEASE (18 U.S.C . §§ 3561 , 3583): Five
Years ' Probation/One Year Supervised Release
MANDATORY SPECIAL ASSESSMENT (18 U.S.C. § 3013): $25.00

SENTENCING GUIDELINES RECOMMENDATIONS. The parties recommend
to the Court, pursuant to Fed. R. Crim. P. l l(c)(l)(B), the following United States
Sentencing Guidelines calculations:
       Total Offense Level: 6 (base) - 2 (acceptance) = 4
       U.S.S.G. § 2B l. l(a)(2) and (b)(l)
       Criminal History Category: I
       Imprisonment Range: JL to_§_ months (statutory max. of 12 months)
       Supervised Release Range: 1 year
       Fine Range: $500.00 to $9,500.00

RULE ll(c)(l)(C), Fed. R. Crim. P., Stipulated Sentence:
The defendant shall be sentenced three years of supervised probation. In addition to
the mandatory and standard conditions of supervision set forth in General Order 17-
18, as well as any terms of supervision that the Court deems appropriate, the
defendant shall abide by the following supervision conditions (with the specific
language of those conditions to be in the discretion of the Court):
    1.   You must submit your person, property, house, residence, vehicle, papers,
         or office to a search conducted by a probation officer. Failure to submit to
         a search may be grounds for revocation of release. You must warn any
         other occupants that the premises may be subject to searches pursuant to
         this condition.
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   2.    You must rectify any outstanding warrants from any state and/or local
         courts, including (but not limited to) submitting to the jurisdiction of those
         courts within 90 days of sentencing.
   3.    You are banned from the Lake Mead National Recreation Area during the
         term of your supervision, with the exception of traveling through those
         areas on any federal , state, and/or local highways or roads.

The submission of drug testing under Mandatory Condition #3 of General Order 17-
18 shall be suspended. Substance abuse testing shall be in the discretion of the
probation officer.

Fine, in addition to the mandatory special assessment of $25 .00, in the discretion of
the Court but capped at $1,000.00. The United States recommends no fine. The
defendant understands that the Court is not bound by that recommendation.

RESTITUTION: The defendant shall pay restitution to the United States in the
amount of$4,715.48. The United States does not object to payments of not less than
$100.00 per month. Restitution shall be paid through the Clerk of the U.S. District
Court, Attention: Finance, Suite 130,401 West Washington Street, SPC 1, Phoenix,
Arizona 85003-2118. Pursuant to 18 U.S.C. § 3663, any restitution to the United
States imposed by the Court will be paid to the National Fish and Wildlife
Foundation (the "NFWF" ). 1 Restitution funds should be forwarded by the Clerk to
the U.S. Fish and Wildlife Service ' s Division of Financial Management at the
following address: U.S. Fish and Wildlife Service, Cost Accounting Section, P.O.
Box 272065, Denver, CO 80227-9060 . Checks sent to the Service for deposit should
notate "Lacey Act Reward Account."

DISPOSITION OF ADDITIONAL CHARGES: If the plea and stipulated
sentence are accepted by the Court, the United States Attorney ' s Office agrees: (1)
to dismiss the Criminal Complaint in Case No. 21-4268MJ-001-PCT-CDB to the

        ' The NFWF is a charitable and nonprofit corporation established pursuant to
16 U.S.C. §§ 3701-3710. Its purposes include the acceptance and administration of
"private gifts of property ... to further the conservation and management of fish ,
wildlife, plants, and other natural resources ," and the performance of "such other
activities as will further the conservation and management of the fish, wildlife, and
plant resources of the United States, and its territories and possessions for present
and future generations of Americans." 16 U.S.C. § 3701(b)(l) & (2). The NFWF is
empowered to "do any and all acts necessary and proper to carry out" these purposes,
including, specifically, solicitation, acceptance, and administration of " any gift,
devise or bequest . .. of real or personal property." 16 U.S.C. § 3703(c)(l) & (11).


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extent it is still pending; (2) not to file any additional charges against the defendant
concerning the allegations set forth in the affidavit supporting the Criminal
Complaint in Case No . 21-4268MJ-001-PCT-CDB; and (3) not refer the matter to
the state or local law enforcement authorities for prosecution. Nothing in this
agreement prohibits the United States from cooperating with and/or providing
information to state and/or local law enforcement authorities if so requested.

VICTIM(S) INFORMED OF AGREEMENT: A representative of agency was
informed of the plea agreement and approves of same.

ELEMENTS OF OFFENSE(S): On, about, or between December 1, 2016 to
August 2, 2018, in the District of Arizona:

             1.     The defendant knowingly stole property of value,
                    specifically cacti plants, with the intention of
                    depriving the owner of the use or benefit of the
                    property;
             2.     The property belonged to the United States; and
             3.     The value ofthe property did not exceed $1,000.00.

FACTUAL BASIS: I admit that the following facts are true and correct to the best
of my knowledge and belief:

             I admit that between approximately December 1, 2016 and
             August 2, 2018, I did knowingly steal and purloin cactus
             plants from the Lake Mead National Recreation Area in
             the District of Arizona. I admit that I stole the plants for
             another individual, who sold them via the Internet, and that
             I also stole the plants and sold them on the Internet myself.

             During the time period described above, I sold the cactus
             plants that I stole from the Lake Mead National Recreation
             Area on eBay to buyers throughout the world, receiving
             about $4,715.48 for those stolen plants. In doing so, I
             falsely labeled the plants for shipment.

             I hereby plead guilty to the charges set forth in this plea
             agreement.

      The defendant shall swear under oath to the accuracy of this statement and, if
the defendant should be called upon to testify about this matter in the future, any


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intentional material inconsistencies in the defendant ' s testimony may subject the
defendant to additional penalties for perjury or false swearing, which may be
enforced by the United States under this agreement.

       If the defendant ' s guilty plea or plea agreement is rejected, withdrawn,
vacated, or reversed at any time, this agreement shall be null and void, the United
States shall be free to prosecute the defendant for all crimes of which it then has
knowledge and any charges that have been dismissed because of this plea agreement
shall automatically be reinstated. In such event, the defendant waives any and all
objections, motions, and defenses based upon the Statute of Limitations, the Speedy
Trial Act, or constitutional restrictions in bringing later charges or proceedings. The
defendant understands that any statements made at the time of the defendant' s
change of plea or sentencing may be used against the defendant in any subsequent
hearing, trial, or proceeding subject to the limitations of Fed. R. Evid. 410.

      I have carefully reviewed every part of this statement with my attorney. I
understand it, and I voluntarily agree and enter into it.

      I, Jerrid William Maloy, understand that the above sentencing provision is
binding upon the Court if the Court accepts my guilty plea under this plea agreement.

       By pleading guilty, I will be giving up my rights to plead not guilty; to
confront, cross-examine and compel the attendance of witnesses; to present evidence
in my defense; to remain silent and refuse to be a witness against myself by asserting
my privilege against self-incrimination - all with the assistance of counsel - and to
be presumed innocent until proven guilty beyond a reasonable doubt. I understand
that pleading guilty may have consequences with respect to immigration status to
the extent that I am a recently naturalized United States citizen or not a citizen of the
United States.

      I waive my right to trial, agree to enter my plea before and to be sentenced by
a U.S. Magistrate Judge, and waive any right to appeal or otherwise challenge my
conviction. In particular, the defendant waives (1) any and all motions, defenses,
probable cause determinations, and objections that the defendant could assert to the
indictment, the complaint, the information, or the citation; and (2) any right to file
an appeal, any collateral attack, and any other writ or motion that challenges the
conviction, an order of restitution or forfeiture , the entry of judgment against the
defendant, or any aspect of the defendant ' s sentence, including the manner in which
the sentence is determined, including (but not limited to) any appeals under 18
U.S.C. § 3742 (sentencing appeals) and motions under 28 U.S.C. §§ 2241 and 2255
(habeas petitions), and any right to file a motion for modification of sentence,


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including under 18 U.S.C. § 3582(c). This waiver shall result in the dismissal of any
appeal, collateral attack, or other motion the defendant might file challenging the
conviction, order of restitution or forfeiture , or sentence in this case. This waiver
shall not be construed to bar an otherwise-preserved claim of ineffective assistance
of counsel (if applicable) or of "prosecutorial misconduct" (as that term is defined
by Section II.B of Ariz. Ethics Op. 15-01 (2015)).

       The nature of the charge(s) and the possible penalties have been explained to
me, and I agree that there is a factual basis for each charge to which I am pleading
guilty. I understand that the Court may later modify the terms and conditions of any
probation or supervised release ordered as part of my sentence. I further understand
that my ultimate sentence shall be determined by the Court after consideration of the
advisory Sentencing Guidelines (to the extent applicable), the factors set forth in 18
U.S.C. § 3553 , and any stipulations set forth in this plea agreement. I further
understand and agree that (to the extent applicable) any recommended Sentencing
Guidelines Calculations are not binding on the Court.

       As an offense listed under 18 U.S.C. § 3663A(c)(l) gave rise to the plea
agreement, pursuant to 18 U.S.C. § 3663A, the defendant specifically agrees to pay
full restitution, in the amount of $4,715.48, to the United States Fish and Wildlife
Service, a victim directly or proximately harmed by the defendant' s "relevant
conduct," including conduct pertaining to any dismissed counts or uncharged
conduct, as defined by U.S.S.G. § lB 1.3, regardless of whether such conduct
constitutes an "offense" under 18 U.S.C. §§ 22 59, 3663 , or 3663A. The defendant
understands that such restitution will be included in the Court' s Order of Judgment
and that an unanticipated restitution amount will not serve as grounds to withdraw
the defendant' s guilty plea or to withdraw from this plea agreement.

       Pursuant to 18 U.S.C. § 3613 , all monetary penalties, including restitution
imposed by the Court, shall be due immediately upon judgment, shall be subject to
immediate enforcement by the United States, and shall be submitted to the Treasury
Offset Program so that any federal payment or transfer of returned property the
defendant receives may be offset and applied to federal debts (which offset will not
affect the periodic payment schedule). The United States does not object to
payments of not less than $100.00 per month , with the caveat that if the Court
imposes a schedule of payments, the schedule of payments shall be merely a
schedule of minimum payments and shall not be a limitation on the methods
available to the United States to enforce the judgment.

      My guilty plea is not the result of force , threats, or promises other than any
promises contained in this written agreement.


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        Due to COVID-19 pandemic precautions, the parties agree to execute this
  plea agreement in counterparts. To the extent applicable, all such counterparts
  and signature pages, together, shall be deemed and construed as one document .
. The parties also agree that this agreement and/or signatures may be
  transmitted via facsimile and/or PDF. Furthermore, the parties consent to
  holding the plea and sentencing hearing(s) telephonically and/or via video
  telephone conference. The defendant hereby authorizes his/her attorney to sign
  the plea agreement on his/her behalf.

 [ ] The parties request that a presentence investigation and report be conducted
 in this matter.

 (X] The parties do not request that a presentence investigation and report be
 conducted in this matter. Pursuant to Rule 32(c)(l)(A)(ii) of the Federal Rules
 of Criminal Procedure, the parties believe sufficient information exists in the
 record to enable that Court to meaningfully exercise its sentencing authority
 under 18 U.S.C. § 3553.

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      I am not currently under the influence of alcohol or any other intoxicants, .
and I am fully capable of understanding this agreement and enter it voluntarily.



                                                         CJ) - 03- ~o~~
            Jerrid William Maloy                        Date
            Defendant



                                                          0 i---- O3- ~ d
            Kathryn Mahady, Esq.                        Date
            Attorney for Defendant


                                                            1-1--      202.~
            Paul V. Steams                              Date
            As~istant U.S. Attorney




             amille D. Bibles
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                                                        Date
            U.S. Magistrate Judge




- -~
   _ ACCEPTED    _ _ REJECTED




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